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             Case 3:20-cr-03646-LAB Document 42 Filed 01/11/21 PageID.72 Page 1 of 1
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                                          UNITED STATES DISTRICT COUB                                                                     f
                                        SOUTHERN DISTRICT OF CALIFORNIAu~~';,~~gso,sni,crcou                                              I
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--------1.JNI+ED-S+A+ES-GF-AMERIG.A.,                                                                                                     !
                                                                          Case No. 20CR3646-LAB

                                                     Plaintiff,
                                vs.
                                                                          JUDGMENT OF DISMISSAL
      NICOLE LA SHAUN REESE

                                                  Defendant.


       IT APPEARING that the defendant is now entitled to be discharged for the reason that:

             an indictment has been filed in another case against the defendant and the Court has
             granted the motion of the Government for dismissal of this case, without prejudice; or

        •    the Court has dismissed the case for unnecessary delay; or

        •    the Court has granted the motion of the Government fot dismissal, without prejudice; or

        •    the Court has granted the motion of the defendant for a judgment of acquittal; or

        •    a jury has been waived, and the Court has found the defendant not guilty; or

        •    the jury has returned its verdict, finding the defendant not guilty;

             of the offense(s) as charged in the Indictment/Information:
             Ct 1- 8:1324(a)(2)(B)(iii) - Bringing in Aliens Without Presentation




        Dated:
                                                                    Hon. Allison H. Goddard
                                                                    United States Magistrate Judge
